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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

____________________________________
                                          )
PUBLIC CITIZEN,                           )
                                          )
               Plaintiff,                 )
                                          )
       v.                                 )
                                          )
DEPARTMENT OF HEALTH AND                  )
HUMAN SERVICES,                           )       Civil Action No. 11-1681
                                          )       Judge Beryl A. Howell
               Defendant,                 )
                                          )
       v.                                 )
                                          )
PFIZER INC. and PURDUE PHARMA             )
L.P.,                                     )
                                          )
               Defendant-Intervenors.     )
                                          )

                                   PROPOSED ORDER

       Upon consideration of the motions for summary judgment and all supporting documents

in support thereof, it is hereby

       ORDERED that the plaintiff’s motion for summary judgment is granted;

        ORDERED that defendant’s and defendant-intervenors’ motions for summary judgment

are denied;

       ORDERED that defendant disclose to plaintiff (1) Pfizer and Purdue Reportable Event

summaries; (2) Pfizer and Purdue Disclosure Log summaries; (3) Pfizer and Purdue records

involving the screening and removal of Ineligible Persons; (4) Pfizer and Purdue summaries of

government investigations or legal proceedings; (5) Pfizer and Purdue communications with the

Food and Drug Administration (FDA); (6) Pfizer and Purdue portions of IRO reports identified



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in Plaintiff’s Memorandum in Support of Summary Judgment and the company’s responses and

corrective action plans as to those portions; (7) Purdue’s cover memorandum for a supplement to

its first annual report; and (8) records involving Pfizer’s off-label findings and responses to those

findings, portions of the off-label review of detailing sessions for specific drugs for which the

portions reveal off-label promotion, and underlying detailing session records that reveal off-label

promotion identified in the off-label findings; and

       ORDERED that defendant conduct an additional search to identify Pfizer responses and

corrective action plans related to its IRO reports, which were not specifically identified in

defendant’s initial search.

       SO ORDERED.

                                                      __________________________
                                                      The Honorable Beryl A. Howell
                                                      United States District Judge




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